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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

ADVANCED MP TECHNOLOGY, INC.,)
                              )
                 Plaintiff,   )
                              )                       Civil Action No.: 14-CV-13891-LTS
v.                            )
                              )
MASS INTEGRATED SYSTEMS, INC. )
                              )
          Defendant.          )
                                              I


                                RECEIVER'S STATUS REPORT

          As set forth in the letter from the Internal Revenue Service ("IBS.") dated March26,20l5

attached hereto as Exhibit A, the IRS does not claim a lien on Mass Integrated Systems, [nc.'s

assets.




Dated: March 27,2015

                                                      Respectfully submitted,

                                                      FRANCIS C. MORRISSEY,
                                                      RECEIVER

                                                      /sl frranc,is. C" Morrissev
                                                      Francis C. Monissey (BBO No. 567589)
                                                      Morrissey, Wilson, &, Zafitopoulos, LLP
                                                      35 Braintree Hill Office Park, Suite 404
                                                      Braintree, Massachusetts 021 84
                                                      Telephone: (78 1) 353-5501
                                                      Facsimile: (781\ 356-5546
                                                      Email: fcm@mwzllp.com
        Case 1:14-cv-13891-ADB Document 35 Filed 03/27/15 Page 2 of 4




                                 CERTIFICATE OF SERVICE
        I,   Francis C. Morrissey, hereby certify that on March 27, 2015, this document filed

through the ECF system will be sent electronically to the registered participants as identified on

the Notice of Electronic Filing and paper copies   will   be sent to those indicated as non-registered

participants.



                                                      /s/ Francis C. Morrissey
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                     EXHIBIT A
ttnt\   aa-aulJ    J.L.].I       IK5 II\SULVts,NLY HU5                6t7 3t6 2É,ø5                     P.ØL
                  Case 1:14-cv-13891-ADB Document 35 Filed 03/27/15 Page 4 of 4




                                                               FACSIMILE COVER SHEET

              INTERNAL REVENUE SERVTCE                         JFK BLDG, STOP 2O8OO
              SB/SE                                            BOSTON, MA 02203
              INSOLVENCY UNTT       III
                                                               JULIE S\ryEENEY
                                                               BANKRUPTCY SPECIALIST
             Date¡ MarctL26,20I5
                                                               (617) 3r6-264s
                                                               (617)316-2605 FAX


             TO: Francis Morrissey, Esq.
             OFFICE: Morrissey, Wilson &Zafrropoulos, LLp
             PHONE: 781-353-5500
             FAX:   781-356-5546

             PAGES TO FOLLOW; 2

             RE: Mass Integrated Systems, lnc.
                  Case Number: l: l4-cv, I 3891-ADB

            As pursuant to our relephone coqversation of today, there arc no outstandíng Notices   of
            Federal Tax Lien for this cnriry,

            Please be advised, that the Noticcs of Federal Tax Lien filod on Eric L & Susan E
            Primack were released, I have enclosed lien facsimiles of the releases.

            Should you have any questions, please contact mê at the number shov,,n above

            Thark you,


            Julia Sweeney
            Bankruptcy Specialisr
            Insolvency Unir III Boston
